Case 2:17-cr-00001-JAD-DJA   Document 326   Filed 06/04/18   Page 1 of 17
Case 2:17-cr-00001-JAD-DJA   Document 326   Filed 06/04/18   Page 2 of 17
Case 2:17-cr-00001-JAD-DJA   Document 326   Filed 06/04/18   Page 3 of 17
Case 2:17-cr-00001-JAD-DJA   Document 326   Filed 06/04/18   Page 4 of 17
Case 2:17-cr-00001-JAD-DJA   Document 326   Filed 06/04/18   Page 5 of 17
Case 2:17-cr-00001-JAD-DJA   Document 326   Filed 06/04/18   Page 6 of 17
Case 2:17-cr-00001-JAD-DJA   Document 326   Filed 06/04/18   Page 7 of 17
Case 2:17-cr-00001-JAD-DJA   Document 326   Filed 06/04/18   Page 8 of 17
Case 2:17-cr-00001-JAD-DJA   Document 326   Filed 06/04/18   Page 9 of 17
Case 2:17-cr-00001-JAD-DJA   Document 326   Filed 06/04/18   Page 10 of 17
Case 2:17-cr-00001-JAD-DJA   Document 326   Filed 06/04/18   Page 11 of 17
Case 2:17-cr-00001-JAD-DJA   Document 326   Filed 06/04/18   Page 12 of 17
Case 2:17-cr-00001-JAD-DJA   Document 326   Filed 06/04/18   Page 13 of 17
Case 2:17-cr-00001-JAD-DJA   Document 326   Filed 06/04/18   Page 14 of 17
Case 2:17-cr-00001-JAD-DJA   Document 326   Filed 06/04/18   Page 15 of 17
Case 2:17-cr-00001-JAD-DJA   Document 326   Filed 06/04/18   Page 16 of 17
Case 2:17-cr-00001-JAD-DJA   Document 326   Filed 06/04/18   Page 17 of 17
